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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF RHODE ISLAND

    --------------------------------------------------------x
    MANNY CHUM                                                :   CASE NO: 1:18-cv-00684-JJM-LDA
                                                              :
             Plaintiff                                        :
                                                              :
    v.                                                        :
                                                              :
    PACIFIC UNION FINANCIAL, LLC, ET AL. :
                                                              :
             Defendants.                                      :   APRIL 2021
    ------------------------------------------------------x

             DEFENDANT’S EMERGENCY MOTION FOR PROTECTIVE ORDER

            The Substituted Defendant, Nationstar Mortgage LLC d/b/a Mr. Cooper (“Mr.

    Cooper”), hereby moves pursuant to LR cv 9, for expedited relief on the within Motion for

    Protective Order.       Mr. Cooper seek a determination on an expedited basis because the

    information sought to be protected, must otherwise be provided to the defendant, Manny

    Chum, prior to the time in which the court conduct a hearing in the normal course. Mr. Cooper

    seeks a determination from this Court prior to the time to respond to Defendant’s request.

            Pursuant to Fed. R. Civ. P. 37(a) counsel for Mr. Cooper attempted to communicate

    with counsel for Defendant to seek resolution of this matter prior to filing this motion.

            Mr. Coopers hereby moves pursuant to Fed. R. Civ. P. 26 (c), 30 (b)(4), 34(b)(2) and

    45(d) and the Local Rules of the District Court of Rhode Island, and objects to and moves this

    Honorable Court for a Protective Order based on a Request for Information under 24 CFR

    1024.36 issued by Counsel for the Plaintiff to the Substituted Defendant. As grounds for the

    motion, Mr. Cooper respectfully relies on the accompanying memorandum of law in support.

            Pursuant to LR cv 7(c) Mr. Cooper requests oral argument on this motion. Said oral

    argument should take approximately twenty (20) minutes.
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           WHEREFORE, Mr. Cooper respectfully requests an Order of this Honorable Court

    issue a protective Order.



                                                 DEFENDANT
                                                 Nationstar Mortgage, LLC
                                                 By its attorneys,

                                                 /s/ Shawn M. Masterson
                                                 Shawn M. Masterson, #9201
                                                 Shapiro Dorry Masterson, LLC.
                                                 145 Waterman Street
                                                 Providence, RI 02906
                                                 Office: (401) 455-0002
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    Dated: April 30, 2021




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on April 30, 2021, a copy of the foregoing Motion was served by

    mail on anyone unable to accept electronic filing as set forth below. Notice of this filing will

    be sent by e-mail to all parties by operation of the Court’s electronic filing system. Parties may

    access this filing through the Court’s CM/ECF System.




                                                         /s/ Shawn M. Masterson
                                                         Shawn M. Masterson




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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF RHODE ISLAND

    --------------------------------------------------------x
    MANNY CHUM                                                :   CASE NO: 1:18-cv-00684-JJM-LDA
                                                              :
             Plaintiff                                        :
                                                              :
    v.                                                        :
                                                              :
    PACIFIC UNION FINANCIAL, LLC, ET AL. :
                                                              :
             Defendants.                                      :   APRIL   2021
    ------------------------------------------------------x

                          DEFENDANT’S MEMORANDUM IN SUPPORT OF
                              MOTION FOR PROTECTIVE ORDER

            I.       Introduction

            The Substituted Defendant, Nationstar Mortgage LLC d/b/a Mr. Cooper (“Mr.

    Cooper”), hereby moves pursuant to Fed. R. Civ. P. 26 (c) and 45(d) to issue a Protective

    Order as to on a Request for Information under 24 CFR 1024.36 issued by Counsel for the

    Plaintiff to the Substituted Defendant. See, Exhibit A. The Defendant sets forth the Request

    for Information is a direct attempt to circumvent the scheduling order on this matter concerning

    discovery.

            On or about December 18, 2018, the Plaintiff commenced this action in an effort to

    forestall the foreclosure of the real property by seeking an injunction and commencing

    litigation. Thereafter, on September 22, 2020, this court issued a scheduling order as follows:

            Factual Discovery to close by 3/22/2021; Plaintiff's Expert Disclosures shall be made
            by 4/22/2021; Defendant's Expert Disclosures shall be made by 5/24/2021; Expert
            Discovery to close by 6/23/2021 and Dispositive Motions shall be filed by 7/22/2021.

    See, Pretrial Scheduling Order.




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           The Plaintiff then undertook no efforts to conduct discovery until after the Defendant

    moved for summary judgment by seeking a Motion for Extension of Time to based on the lack

    of closure of discovery on January 27, 2021. See, ECF No. 23. This court denied the

    Defendant’s Motion for Summary Judgment on January 28, 2021 based on the Plaintiff’s claim

    that the discovery deadlines had not passed.

            Again, the Plaintiff took no affirmative steps to seek discovery until March 6, 2021

    when counsel issued a Notice of Deposition for March 22, 2021 – the last day to complete

    factual discovery on a non-party to this litigation, JM Adjustment Services LLC.              The

    Defendant then filed a Motion to Quash on March 17, 2021. See, ECF No. 24.             A response

    was filed by the Plaintiff on April 1, 2021. See, ECF No 27.

           On March 22, 2021, the day factual discovery terminated, the Plaintiff filed a Motion to

    Amend/Correct the scheduling order by seeking an extension to June 20, 2021 to conduct

    discovery. See, ECF No. 25.        A response was filed on April 1, 2021 by the Substituted

    Defendant. See, ECF No. 26.

           After the Motion for Extension and the response thereto were filed, Counsel for the

    Plaintiff issued a Request for Information under Information under 24 CFR 1024.36 issued by

    Counsel for the Plaintiff to the Substituted Defendant dated April 7, 2021 and received on

    April 12, 2021. See, Exhibit A. Therein, the Plaintiff is seeking the entire loan servicing file:

           The consumer requests that you provide the consumer the entire loan servicing file
           including all servicing notes, collection notes, recordings of all phone calls you or any
           agent acting on your behalf made to the consumer or to his attorney , and any phone
           calls from the consumer or his attorney to you or an agent which you recorded and al
           loss mitigation documents sent to you by the consumer and all loss mitigation
           responses sent form you to the consumer from the time that you obtained servicing
           rights to the present.


    See, Exhibit A.
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              On April 15, 2021, this court held a hearing concerning the Plaintiff’s Motion to

    Amend/Correct the scheduling order and then issued an order on April 16, 2021 barring

    discovery with the exception of conducting the deposition of JM Adjustment Services LLC

    subject to any objections the third party may have to the notice of deposition.

              The Substitute Defendant now moves for a protective order as to the Request for

    Information.

              II.    Standard for Motion for Protective Order

              As noted in the First Circuit, while district courts are to interpret liberally the discovery

    provisions of the Federal Rules of Civil Procedure to encourage the free flow of information

    among litigants, limits do exist. See M.Y. v. Danly, Inc., 2010 WL 4569852 (D. Mass 2012)

    (citing Heidelberg Americas, Inc. v. Tokyo Kikai Seisakusho, Ltd., 333 F.3d 38, 41 (1st Cir.

    2003)).

              However, under Fed. R. Civ. Pro. 26(c), a protective order can be entered for good

    cause shown which prohibits or limits discovery.             Thompson v. UBS Financial Services,

    Docket No. 09-033S, 2009 U.S. Dist. LEXIS 84347 (D.R.I. Sep. 15, 2009).



              III.   Argument

              The Substitute Defendant sets forth that the issuance of a Request for Information

    under 12 C.F.R. §1024.36 for an entire loan servicing file after the close of discovery is a

    direct attempt to evade this court’s scheduling order and the subsequent bar on discovery

    rendered by this court.

              "It is settled law that a party flouts a court order at his peril." Torres-Vargas v.
              Pereira. 431 F.3d 389, 393 (1st Cir. 2005) (citing Rosario-Diaz v. Gonzalez, 140 F.3d
              312, 315 (1st Cir. 1998)). Furthermore, "courts cannot function if litigants may, with

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            impunity, disobey lawful orders." HMG Prop. Investors, Inc. v. Parque Indus. Rio
            Canas, Inc., 847 F.2d 908, 916 (1st Cir. 1988).

    Vigilant Ins. v. E. Greenwich Oil Co., 234 F.R.D. 20, 21 (D.R.I. 2006).

            As set forth above, a scheduling order was set cutting off discovery as of March 22,

    2021.   After the closure of the factual discovery period, counsel issued the Request for

    Information. It appears from the Plaintiff’s Motion to Amend/Correct that the intent of seeking

    this information to add additional claims i.e. “[t]he Plaintiff will file an Amended Complaint

    regarding the servicing of the mortgage loan by Nationstar, which is relevant to this action as it

    has taken additional action, since the filing of the original complaint.”        See, Motion to

    Amend/Correct, ¶ 29, ECF. No. 25.

            “RESPA aims to promote transparency and communication between borrowers and

    lenders.” Lebeau v. U.S. Bank, N.A., Docket No. 17-329-JJM-PAS, 2019 U.S. Dist. LEXIS

    36519, at *6 (D.R.I. Mar. 7, 2019) and was designed to protect consumers with greater

    information and protection from abusive practices. Abbatematteo v. Federal Housing Finance

    Agency, Docket No. 17-331 WES, 2018 U.S. Dist. LEXIS 118891, *1, *11-12 (D.R.I. July 17,

    2018). However,

            RESPA was not intended to give people who cannot pay their mortgages the means to
            engage in burdensome fishing expeditions in the hope of somehow passing the blame
            for their foreclosure onto the mortgage servicers in state court.

    Moore v. Wells Fargo Bank, N.A., 908 F.3d 1050, 1061 (7th Cir. 2018), see also Hittle v.

    Residential Funding Corp., No. 2:13-cv-353, 2014 U.S. Dist. LEXIS 107423, 2014 WL

    3845802, at *12 (S.D. Ohio, Aug. 5, 2014) ("RESPA exists to prevent abuse of borrowers by

    servicers — not to enable abuse of servicers by borrowers.").




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            Here, the Plaintiff admitted her loan is default and is seeking a loan modification for

    which she was denied 1. See generally, Motion to Amend/Correct. Now, based on the Motion

    to Amend/Correct, the Plaintiff appears to seek the information in order to amend her

    complaint to include additional claims. Yet, this court entered an order concerning discovery

    which the Plaintiff is now seeking to circumvent by issuing a Request for Information under 24

    C.F.R. 1024.36.

            In HMG, the Court of Appeals set forth that the court’s possess plenary power to

    manage and achieve the “orderly and expeditious disposition of cases” including but not

    limited to sua sponte dismissal for proper cause. See, HMG Prop. Investors, Inc. v. Parque

    Indus. Rio Canas, Inc., 847 F.2d 908, 916 (1st Cir. 1988). In this instance, the Plaintiff

    brought this action to stop a foreclosure action based on allegations of non-compliance with

    pre-foreclosure requirements.      See, Complaint.      Now, the Plaintiff is seeking to use the

    Provisions of the Real Estate Settlement Procedures Act (“RESPA”) to create additional causes

    of action. Discovery orders should mean something and the Plaintiff’s efforts to circumvent

    the orders by using a Request for Information under the Federal Regulations is a direct

    violation of the order and is nothing more than a backdoor means to evade the time limitations

    of the scheduling order.

            IV.     Conclusion

            For the reasons set forth above, the Defendant requests its Motion Protective Order be

    granted.




    1
     This representation is not completely accurate. A loan modification was offered which was declined
    and as result the Plaintiff was denied a modification prior to the entry of the scheduling order. See,
    Exhibit B.
                                                       8
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                                             DEFENDANT
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                                             By its attorneys,

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    Dated: April 30, 2021




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                         Exhibit A
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                         Exhibit B
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